        CASE 0:20-cv-01906-WMW-KMM Doc. 25 Filed 11/25/20 Page 1 of 58



                                 UNITED STATES DISTRICT COURT
                                    DISTRICT OF MINNESOTA




ELISABETH CLEVELAND, on behalf of
herself and all others similarly situated,                Case No. 0:20-cv-01906-WMW-KMM

                                      Plaintiff,
                v.
                                                          Demand for Jury Trial
WHIRLPOOL CORPORATION,

                                      Defendant.




                          FIRST AMENDED CLASS ACTION COMPLAINT

       Plaintiff Elisabeth Cleveland (“Plaintiff”), by and through counsel, brings this First

Amended Class Action Complaint against Defendant Whirlpool Corporation (“Defendant” or

“Whirlpool”), on behalf of herself and all others similarly situated, who own or owned certain

dishwashers designed and manufactured by Whirlpool and distributed, marketed, and sold by

Whirlpool and Whirlpool’s subsidiary and affiliates thereof, including inter alia KitchenAid,

JennAir, Maytag, and Kenmore. Plaintiff, upon personal knowledge as to her own actions and her

counsel’s investigations, and upon information and belief as to all other matters, alleges as follows:

                                        NATURE OF THE CASE

       1.      Whirlpool Corporation is a publicly traded, international conglomerate that touts

that it is “the world’s leading kitchen and laundry appliance company, with approximately $20

billion in annual sales, 77,000 employees and 59 manufacturing and technology research centers in



                                FIRST AMENDED CLASS ACTION COMPLAINT

                                                      1
           CASE 0:20-cv-01906-WMW-KMM Doc. 25 Filed 11/25/20 Page 2 of 58



2019.”1 Within this Whirlpool umbrella exists numerous other household brand names, including

KitchenAid, JennAir, Maytag, 2 and Kenmore.3

        2.       Among a bevy of other home appliances, Whirlpool has designed and manufactured

dishwashers for decades. It currently boasts that it is the “industry’s best-selling dishwasher

brand.”4

        3.       Like many Whirlpool appliances, Whirlpool manufactures and distributes

dishwashers under other brand names, which share similar components and parts, including

JennAir, Kenmore, KitchenAid, and Maytag.                 In the last decade, Whirlpool designed and

manufactured certain dishwashers in a substantially similar manner, which were sold under the

following brand names and models: Whirlpool Gold® and Whirlpool Models beginning with

BLB14DR, IUD750, IUD850, WDF5, WDF7, WDL785, WDT7, WDT9, WDTA5, and WDTA7;

JennAir Models beginning with JDB8, JDB9, and JDTSS2; Kenmore Models beginning with

662.13, 665.12, 665.13, 665.14, and 665.15; KitchenAid Models beginning with KDFE1, KDFE2,

KDFE3, KDFE4, KDTE1, KDTE2, KDTE3, KDTE4, KDTE5, KDTE7, KDHE4, KDHE7,

KDTM3, KUDE2, KUDE4, KUDE5, KUDE6, KUDE7, KUDL, KDPE2, and KDPE3; and Maytag

Models beginning with JDB8. There are more than 900 models, including those listed here, which

contain the uniform defect described herein (“Class Dishwashers” or “Dishwashers”).

        4.       The Dishwashers were and are marketed as “high-quality” products, with base retail

pricing ranging from $500-$700. Since at least 2015, as part of its marketing campaign Whirlpool


1
  https://investors.whirlpoolcorp.com/home/default.aspx (Last Accessed September 3, 2020).
2
  https://www.whirlpoolcorp.com/brands-we-love/ (Last Accessed September 3, 2020).
3
  Although Whirlpool manufactures dishwashers for Kenmore, Kenmore is not owned by Whirlpool.
4
  https://www.whirlpool.com/kitchen/dishwasher-and-cleaning.html (Last Accessed September 3, 2020).



                                   FIRST AMENDED CLASS ACTION COMPLAINT

                                                            2
           CASE 0:20-cv-01906-WMW-KMM Doc. 25 Filed 11/25/20 Page 3 of 58



has boasted to consumers about the durability of these “high-quality”5 dishwashers, claiming that

“No One Has Fewer Repairs 18 Years in a Row.”6

        5.      Based on industry standards, the average service life of a dishwasher is typically

seven to twelve years (or 9.5 years on average).7 Consumer Reports has reported that based on

“20-plus manufacturers asked,” dishwashers should have an average service life of ten years.8 It

has specifically been reported that Whirlpool manufactured dishwashers are in line with the

expectation of a ten year service life.9

        6.      However, Whirlpool designed, manufactured, distributed, marketed, and sold the

Dishwashers with a uniform defect that can and has caused the Dishwashers to leak and damage

consumers’ cabinetry, flooring and other property. The Dishwashers were and are equipped with a

pump motor diverter shaft seal (“Diverter Shaft Seal”). The purpose of the Shaft Seal is to prevent

the dishwasher from leaking. However, the Shaft Seal in the Dishwashers fails in this intended

purpose.

        7.      The Shaft Seal in the Dishwashers is uniformly defective in its design and/or

manufacture in that is incorrectly oriented, accelerating degradation of the seal and creating a

buildup of debris that prevents the shaft seal spring from properly sealing the diverter shaft and



5
   See Dishwasher User Instructions (“THANK YOU for purchasing this high-quality product.”).
6
  https://web.archive.org/web/20150116052616/http://www.whirlpool.com/kitchen-1/dishwasher-&-cleaning-
2/dishwashers-3/-[WDF760SADW]-1022282/WDF760SADW/ (Last Accessed September 3, 2020).
7
      ., https://www.consumerreports.org/dishwashers/how-to-make-your-dishwasher-last-longer/ (Last Accessed
November 24, 2020); https://homeguides.sfgate.com/long-should-dishwasher-last-average-91045.html (Last Accessed
November 24, 2020); https://clark.com/homes-real-estate/dishwasher-how-long-should-it-last/ (Last Accessed
November 24, 2020); https://prudentreviews.com/how-long-do-dishwashers-last/ (Last Accessed November 24, 2020).
8
   https://www.consumerreports.org/dishwashers/how-to-make-your-dishwasher-last-longer/ (Last Accessed November
24, 2020).
9
   https://clark.com/homes-real-estate/dishwasher-how-long-should-it-last/ (Last Accessed November 24, 2020).



                                  FIRST AMENDED CLASS ACTION COMPLAINT

                                                          3
        CASE 0:20-cv-01906-WMW-KMM Doc. 25 Filed 11/25/20 Page 4 of 58



sump (“Diverter Shaft Seal Defect” or “Defect”). As a result of the uniform Diverter Shaft Seal

Defect involving the failure of the Diverter Shaft Seal to seal off water between the diverter shaft

and sump, Plaintiff and Class Members’ Dishwashers can and have experienced significant leakage

through the Diverter Shaft Seal, flowing out of the dishwasher to areas below and surrounding the

dishwasher, exposing consumers to unexpected water leaks and damage to cabinetry, flooring, and

other property

       8.        A Diverter Shaft Seal is part of a dishwasher’s sump assembly, which is located at

the bottom of the dishwasher’s tub and is responsible for collecting and distributing the water

throughout the dishwasher during cleaning.         The sump collects and holds water below the

dishwasher tub and the diverter shaft directs the collected water into the spray arms, while the

Diverter Shaft Seal prevents leaks between the sump and the tub. In other words, the Diverter

Shaft Seal’s main purpose is to prevent the dishwasher from leaking and causing damage to

consumers’ homes, yet it is defective and fails in its singular purpose.

       9.        Below is a representative parts diagram, with (4) being the sump and Diverter Shaft

Seal assembly, and (17) the dishwasher’s diverter motor. The red circle specifically indicates the

location of the Divert Shaft Seal.




                                 FIRST AMENDED CLASS ACTION COMPLAINT

                                                      4
        CASE 0:20-cv-01906-WMW-KMM Doc. 25 Filed 11/25/20 Page 5 of 58




       10.    Upon information and belief, the manufacturer’s installation instructions for the

Divert Shaft Seal direct the seal to be affixed in an orientation towards the tub so that there is

protection from hot soapy water and debris during cleaning, and a complete and properly

functioning seal. However, Whirlpool designed and manufactured the sump and diverter motor

pump assembly with the seal affixed in an inverted position, which exposes it to hot soapy water




                              FIRST AMENDED CLASS ACTION COMPLAINT

                                                    5
        CASE 0:20-cv-01906-WMW-KMM Doc. 25 Filed 11/25/20 Page 6 of 58



and debris. As the debris builds and the seal degrades, water begins to leak between the sump and

the tub, eventually leaking through the entire unit and onto floors and inside cabinetry.

       11.     A photograph of a degraded, failed seal:




       12.     Whirlpool had knowledge of the Defect well before many Class Members purchased

the Dishwashers. Whirlpool has known for at least eight years that the Dishwashers contain a

defectively designed and/or manufactured sump assemblies with the inversely oriented Diverter

Shaft Seal in the Class Dishwashers.

       13.     The defective sump and diverter motor pump assembly in the Dishwashers exists at

the time it leaves the manufacturer, and before it is purchased by consumers. Despite Whirlpool’s

longstanding knowledge of this defect, Whirlpool has failed to remedy the defect and also failed to

inform consumers of the Defect. Instead, in contravention of the Dishwasher’s express warranty,

which fails of its essential purpose and is unconscionable, Whirlpool has placed the burden of

repairing this Defect and paying for the costs of repairs to the adjacent personal property damaged

by the defective Dishwashers upon the consumers.



                                FIRST AMENDED CLASS ACTION COMPLAINT

                                                      6
        CASE 0:20-cv-01906-WMW-KMM Doc. 25 Filed 11/25/20 Page 7 of 58



       14.     Whirlpool’s warranty states that within one year of the purchase date, Whirlpool

“will pay for Factory Specified Replacement Parts and repair labor to correct defects in materials or

workmanship that existed when this major appliance was purchased, or at its sole discretion replace

the product.” Exhibit A.

       15.     Upon information and belief, regardless of whether the Dishwasher leaks during the

warranty period or otherwise, and despite having sold the Dishwashers with a Defect known to

Whirlpool and unknown to consumers, Whirlpool refuses to replace or repair the Dishwashers and

instead offers to sell a full sump assembly with a new Diverter Shaft Seal attached to it to the

customer.

       16.     Despite its knowledge of the Diverter Shaft Seal Defect for many years, Whirlpool

routinely denied knowledge or existence of the Defect, and instead placed the burden of paying for

the Defect on consumers by requiring consumers to pay for a full sump assembly replacement with

a Diverter Shaft Seal for approximately $60-$75.         Even more, Whirlpool fails to reimburse

consumers for labor costs associated with replacing the defective Diverter Shaft Seal, which is

approximately $200.00 or more.       And, upon information and belief, the replacement sump

assembly that Whirlpool sells to consumers contains the same Diverter Shaft Seal Defect as the one

in the original Dishwasher sold to consumers.

       17.     Consequently, as a result of Whirlpool’s failure to acknowledge and inform

consumers of the Defect, consumers are unwittingly assuming the cost of replacing the original

defective part with a similarly defective part.     Whirlpools conduct is particularly egregious

considering that the cost of the defective replacement parts and associated labor are more than 1/3




                               FIRST AMENDED CLASS ACTION COMPLAINT

                                                     7
        CASE 0:20-cv-01906-WMW-KMM Doc. 25 Filed 11/25/20 Page 8 of 58



of the cost of the original Dishwasher. Whirlpool’s conduct is deceptive, unfair and

unconscionable.

       18.     Prior to purchasing the Class Dishwashers, Plaintiff and other Class Members did

not know that the Class Dishwashers have a defective sump and diverter motor pump assembly and

would fail, leak, and cause damage to their floors and cabinetry. Further, even after the

Dishwashers began to leak due to the defect, the leakage under the dishwasher is not noticeable

until damage to the surrounding floors and cabinetry has already occurred.

       19.     Defendant knew or should have known that the Class Dishwashers have a

defectively designed and/or manufactured sump and diverter motor pump assembly that leads to

failure of the Diverter Shaft Seal, and are not fit for their intended purpose of providing customers

with a reliable method of cleaning dishes without resulting in water damage to cabinetry and

flooring. Nevertheless, Defendant failed to disclose this defect to Plaintiff and Class Members at

the time of purchase or thereafter and continued to manufacture the Dishwashers in the same

defective manner.

       20.     The existence of the Defect at the Shaft Seal is a material fact that reasonable

consumers, including Plaintiff and Class Members, would have considered when deciding whether

to purchase the Dishwasher. Had Plaintiff and Class Members known about the defect at the time

of purchase, as well as the associated costs related to repair or replace the Dishwasher, Plaintiff and

the Class Members would not have purchased the Dishwashers or would have paid less for them.

Plaintiff and Class Members also would not have agreed to the one-year warranty.




                                FIRST AMENDED CLASS ACTION COMPLAINT

                                                      8
        CASE 0:20-cv-01906-WMW-KMM Doc. 25 Filed 11/25/20 Page 9 of 58



                                                 PARTIES

       21.     Plaintiff Elisabeth Cleveland is a Minnesota citizen who lives in Saint Paul,

Minnesota.

       22.     Defendant Whirlpool Corporation is incorporated in Delaware, with its principal

place of business located in Michigan.

       23.     Whirlpool and its affiliated brands distribute, market, and direct the marketing of its

Dishwashers in Minnesota, and throughout the United States.

                                      JURISDICTION AND VENUE

       24.     This Court has subject matter jurisdiction over this action under the Class Action

Fairness Act (“CAFA”), 28 U.S.C. § 1332(d) because: (1) there are one hundred or more (named

and unnamed) class members, (2) there is an aggregate amount in controversy exceeding

$5,000,000, exclusive of interest and costs, and (3) there is minimal diversity because Plaintiff and

Defendant are citizens of different States. This Court also has supplemental jurisdiction over the

state law claims pursuant to 28 U.S.C. § 1367.

       25.     This Court may exercise personal jurisdiction over Defendant because Defendant

does substantial business in this State and within this District, receives substantial compensation

and profits from the marketing, distribution, and sale of products in this District, and has engaged

in the unlawful practices described in this Complaint within this District.

       26.     Venue is proper in this District under 28 U.S.C. § 1391 because a substantial part of

the events or omissions giving rise to Plaintiff’s claims occurred in this District. Specifically,




                                FIRST AMENDED CLASS ACTION COMPLAINT

                                                      9
         CASE 0:20-cv-01906-WMW-KMM Doc. 25 Filed 11/25/20 Page 10 of 58



Plaintiff’s dishwasher was purchased and installed in this District, and damages stemming

therefrom also occurred in this District.

                                    COMMON FACTUAL ALLEGATIONS

        27.      In 1886, Josephine Garis Cochran invented and patented the first useful dishwasher

for homes. Following its debut at the World’s Fair in 1893, only restaurants and hotels were

interested in purchasing Ms. Cochran’s dishwasher so Ms. Cochran started her own business to

manufacture the machines. That business went on to become KitchenAid.10

        28.      Just a few short years later, in 1911, members of the Upton family who were given

the patent on a manually operated clothes washers founded the company preceding Whirlpool.

Over the next several decades, the company expanded its appliance line and in 1950 it renamed

itself Whirlpool Corporation.11

        29.      In 1986, Whirlpool acquired KitchenAid, and by 2006 it had acquired Maytag and

JennAir.12 Whirlpool and its brands have sold more than $20 billion in household appliances,

including dishwashers, each year since 2014.13

        30.      While KitchenAid, Maytag, JennAir, and Kenmore maintain their own brand names

for the purpose of sales, Whirlpool designed and manufactured the Class Dishwashers at issue in

this action.

        31.      The Dishwashers are used, and intended by Whirlpool to be used, for reliable and

convenient dishwashing.


10
   https://www.uspto.gov/about-us/news-updates/woman-invented-dishwasher (Last Accessed September 3, 2020).
11
   https://www.referenceforbusiness.com/history2/19/Whirlpool-Corporation.html (Last Accessed September 3, 2020).
12
   https://www.whirlpoolcorp.com/2010annual/brand-kitchenaid.html (Last Accessed September 3, 2020).
13
   https://www.statista.com/statistics/220658/revenues-of-whirlpool-since-2007/ (Last Accessed September 3, 2020).



                                    FIRST AMENDED CLASS ACTION COMPLAINT

                                                            10
        CASE 0:20-cv-01906-WMW-KMM Doc. 25 Filed 11/25/20 Page 11 of 58



        32.     Each Dishwasher is designed and manufactured to distribute dish detergent along

with clean, hot water consistently throughout the dishwasher during the cleaning process. This

process is accomplished utilizing various mechanical parts, including motors, rotating spray arms,

and the sump assembly.

        33.     The diverter motor pump and sump assembly is located almost entirely below the

dishwasher tub and is responsible for collecting clean water. The sump is attached to the diverter

shaft and diverter pump motor. Once the temperature of the water has been sufficiently raised, the

water is pumped by the motor into the spray arms, and dispersed throughout the dishwasher by the

rotating diverter shaft.

        34.     The Diverter Shaft Seal is a polymer, elastomeric ring that seals the sump housing

from the diverter assembly and prevents leaking between the diverter shaft and sump. It is intended

to be designed with the sump assembly and installed in such a manner that creates a leak proof seal.

As the dishwasher begins to run and water is pumped into the spray arms, a spring between the

diverter shaft squeezes into the Diverter Shaft Seal and creates a watertight seal.

        35.     However, the Diverter Shaft Seal in the Dishwashers are uniformly installed in an

inverted orientation, such that the lips of the seal are unable to tightly fit against the diverter shaft

and sump and prevent leakage. Thus, the Diverter Shaft Seal fails as a result of the inverted

orientation between the diverter pump motor and sump assembly.

        36.     This failure to properly orient the Diverter Shaft Seal exposes a larger portion of the

Diverter Shaft Seal to hot, soapy water and debris from dirty dishes. As the dishwasher is put into

use, the exposure to the hot soapy water accelerates degradation of the Diverter Shaft Seal’s




                                FIRST AMENDED CLASS ACTION COMPLAINT

                                                       11
        CASE 0:20-cv-01906-WMW-KMM Doc. 25 Filed 11/25/20 Page 12 of 58



polymer materials. Further, the failure to accomplish a complete seal allows for debris to collect,

preventing the spring to completely close and seal off the sump assembly.

        37.     Upon information and belief, this inverted orientation is a direct violation of the

Divert Shaft Seal’s manufacturer’s installation instructions.

        38.     This accelerated Diverter Shaft Seal failure results in leakage through the

Dishwasher unit itself, into cabinetry and onto floors. The leakage often begins so slowly, that it is

not until complete failure so that Plaintiff and Class Members do not know of the Diverter Shaft

Seal Defect until a complete failure has occurred.

        39.     The Defect is latent such that no reasonable customer would know, or be able to

discover through inspection, that it exists between the diverter motor pump and sump assembly at

the time the Dishwasher is purchased. However, Whirlpool knew or should have known of the

defect before it distributed the Dishwashers into the consumer marketplace.

        40.     Plaintiff and the Class Members have a reasonable expectation that their

Dishwashers will have at least ten years of useful service life.14 However, due to the latent defect,

the Dishwashers fail before ten years and many times within the first four years of the service life.

        41.     When customers first began to complain to Whirlpool about the Diverter Shaft Seal

failures, Whirlpool routinely denied the claim and offered to sell a replacement Diverter Shaft Seal

to the customer for less than $10. However, as claims continued to come in, rather than cover the

cost of repairs to the Dishwashers, Whirlpool discontinued the sale of the individual Diverter Shaft


14
  See e.g., https://www.consumerreports.org/dishwashers/how-to-make-your-dishwasher-last-longer/ (Last Accessed
September 3, 2020); https://homeguides.sfgate.com/long-should-dishwasher-last-average-91045.html (Last Accessed
November 24, 2020); https://clark.com/homes-real-estate/dishwasher-how-long-should-it-last/ (Last Accessed
November 24, 2020); https://prudentreviews.com/how-long-do-dishwashers-last/ (Last Accessed November 24, 2020).



                                  FIRST AMENDED CLASS ACTION COMPLAINT

                                                          12
        CASE 0:20-cv-01906-WMW-KMM Doc. 25 Filed 11/25/20 Page 13 of 58



Seal and now requires consumers to purchase the full sump assembly with the Diverter Shaft Seal

attached. This part, without the cost of installation, is approximately $60-$75. Through the use of

an experienced technician, the cost of repair is approximately $200.00 or more; which is more than

1/3 of the cost of the original Dishwasher. Upon information and belief, the sump assembly

replacement part also has an inverted Diverter Shaft Seal, rendering the replacement part defective.

       42.     Whirlpool at all times failed to disclose its knowledge of the defect to customers

during the warranty claims process.

       43.     However, as this Defect is so well known, many appliance repair companies do not

want to risk replacing the sump assembly due to fear that the Diverter Shaft Seal is still installed

upside down and will fail again, leaving consumers with a defective dishwasher.

       44.     Whirlpool expressly and impliedly warrants, via user manuals, advertisements,

pamphlets, brochures, circulars, samples, and/or models, that the Dishwashers are fit for the

ordinary purpose for which they are sold.

       45.     Whirlpool expressly warrants in its Owner Manuals and User Instructions that the

Dishwashers are free from defects for one year.

       46.     Whirlpool’s manifest intent that its warranties apply to Plaintiff and consumer Class

Members as third-party beneficiaries is evident from the statements contained in its product

literature, including its Major Appliance Limited Warranty (“the Warranty”), which begins the date

of the consumer’s purchase and excludes commercial, non-residential use. Exhibit A. Likewise, it

was reasonably foreseeable that Plaintiff and consumer Class Members would be the intended

beneficiary of the products and warranties.




                               FIRST AMENDED CLASS ACTION COMPLAINT

                                                    13
       CASE 0:20-cv-01906-WMW-KMM Doc. 25 Filed 11/25/20 Page 14 of 58



       47.      Specifically, Whirlpool’s one-year Warranty provides as follows:

       For one year from the date of purchase, when this major appliance is installed,
       operated and maintained according to instructions attached to or furnished with the
       product, Whirlpool Corporation or Whirlpool Canada LP (hereafter “Whirlpool”)
       will pay for Factory Specified Replacement Parts and repair labor to correct defects
       in materials or workmanship that existed when this major appliance was purchased,
       or at its sole discretion replace the product. In the event of product replacement,
       your appliance will be warranted for the remaining term of the original unit's
       warranty period. Exhibit A.

       48.      The Warranty fails of its essential purpose for the following reasons:

             a. Whirlpool fails to disclose its knowledge of the defect when contacted by customers

                about Dishwasher failures;

             b. Whirlpool provides identically defective sump assemblies with inverted Diverter

                Shaft Seals; and

             c. When Whirlpool replaces the entire Dishwasher, it reduces the Warranty of the new

                Dishwasher to the remaining term of the original Dishwasher.

       49.      As described herein, Whirlpool breached this warranty at the time Plaintiff and

Class Members purchased the Dishwashers because, the Dishwashers were defective when they

came off of the assembly line. Thus, at the time the defective Dishwashers sold to consumers,

Whirlpool was already in violation of the express warranty.

       50.      Further, because Whirlpool does not have non-defective sump assemblies with

properly oriented Diverter Shaft Seals available to replace the defective assembly, and because its

repairs are simply a band-aid that do not resolve the Defect, it is unable to fulfill its warranty

obligations at the point of purchase, or anytime thereafter, and the warranty is therefore breached

immediately upon purchase.

       51.      In addition, the Warranty has several terms that are unconscionable as follows:


                                   FIRST AMENDED CLASS ACTION COMPLAINT

                                                      14
        CASE 0:20-cv-01906-WMW-KMM Doc. 25 Filed 11/25/20 Page 15 of 58




             a. In the one-year time limitation when the latent defect regularly does not manifest

                until after the expiration of the limitation;

             b. In the failure and refusal to extend the time limitation at the time a replacement is

                installed;

             c. In its prohibition against application in multi-family residences;

             d. In its exclusion of repairs to parts or systems to correct product damage or defects

                caused by unauthorized service, alteration or modification of the appliance;

             e. In its exclusion of travel or transportation expenses for service in remote locations

                where an authorized Whirlpool servicer is not available;

             f. In its disclaimer of warranties; and

             g. In its limitation of remedies, including disclaimer of consequential damages.


       52.      Whirlpool unilaterally imposed the Warranty terms to its own benefit.

       53.      The Warranty is further unconscionable given Whirlpool’s knowledge of the defect,

the existence of the defect at the point of sale, Whirlpool’s failure to disclose the defect at the time

of sale and during warranty communications, and in the premature failure of the Dishwashers.

       54.      The defect renders the Dishwashers unfit for the ordinary purpose for which they are

used, which is to reliably clean dishes.

       55.      Had Plaintiff, Class Members, and the consuming public known that the

Dishwashers were defective and would cause damage to other property, they would not have

purchased the Dishwashers at all, or would not have paid the price they did.

       56.      In sum, Whirlpool has actively concealed the existence and nature of the defect from

Plaintiff and Class Members, despite its knowledge of the existence and pervasiveness of the



                                 FIRST AMENDED CLASS ACTION COMPLAINT

                                                        15
       CASE 0:20-cv-01906-WMW-KMM Doc. 25 Filed 11/25/20 Page 16 of 58



defect, and certainly well before Plaintiff and Class members purchased the Dishwashers and

during warranty communications. Specifically, Whirlpool has:

       a.      Failed to disclose the defect to consumers, at or after the time of purchase,

               including when consumers make warranty claims or otherwise complain to

               Whirlpool or its affiliates about the defect;

       b.      Actively concealed the Defect from consumers, at or after the time of purchase,

               including when consumers make warranty claims, or otherwise complain to

               Whirlpool about the defect;

       c.      Failed to disclose, and actively concealed the defect from consumers, including that

               the Dishwashers were not fit for their intended purpose;

       d.      Failed to disclose and actively concealed the defect from consumers when it

               improperly and unlawfully denied valid warranty claims; and

       e.      Failed to disclose and actively concealed the defect from consumers when it

               provided them with replacement Diverter Shaft Seals and related sump assemblies,

               that contained such parts contain the same or similar defect.


       57.    As a direct, proximate, and foreseeable result of the defect, Plaintiff and Class

Members suffered damages, including but not limited to: (a) the difference in value of the

Dishwashers as purchased and the Dishwashers received; (b) loss of use of the Dishwashers; (c)

property damage; and (d) consequential damage.




                               FIRST AMENDED CLASS ACTION COMPLAINT

                                                     16
            CASE 0:20-cv-01906-WMW-KMM Doc. 25 Filed 11/25/20 Page 17 of 58



                                              PLAINTIFF’S EXPERIENCE

           58.      In August of 2016, Ms. Cleveland began shopping for a new, reliable dishwasher

that would be long lasting and not require many repairs. After researching dishwashers, reviewing

specifications and other literature, and reading consumer reports, Ms. Cleveland selected a

Whirlpool Model WDF760SADW2.

           59.      Specifically, in selecting her Dishwasher, Ms. Cleveland relied on Whirlpool’s

representations that its dishwashers required fewer repairs than other brands of dishwashers, as well

as Whirlpool’s reputation and that she believed she was purchasing a high-quality product. She

expected the dishwasher would last at least ten years,15 and would not prematurely fail and cause

damage to her flooring.

           60.      On September 5, 2016, Ms. Cleveland purchased her Dishwasher from Warners’

Stellian for the amount of $500.00. Ms. Cleveland purchased her Dishwasher for normal,

household (non-commercial) use, and it has in fact at all times only been used for normal

household purposes.

           61.      On September 13, 2016, the Dishwasher was installed in Ms. Cleveland’s kitchen,

and she began to regularly use it. From the time of purchase until the incident described below, Ms.

Cleveland used the Dishwasher as intended and maintained it in a reasonable manner as an owner

of an appliance.

           62.      On June 15, 2020, Ms. Cleveland noticed a small amount of water leaking

underneath her Dishwasher. Over the following three months, the amount of water leaking beneath


15
     This expectation is reasonable based on industry standards and reasonable consumer expectations. See fn. 14



                                       FIRST AMENDED CLASS ACTION COMPLAINT

                                                                17
        CASE 0:20-cv-01906-WMW-KMM Doc. 25 Filed 11/25/20 Page 18 of 58



the Dishwasher began to increase. Eventually, Ms. Cleveland began using a bath towel to control

the water leakage when using her Dishwasher.           She cannot reasonably continue to use the

Dishwasher as the leaking increases and becomes unmanageable.

       63.     In August of 2020, Ms. Cleveland contacted an appliance repair company to

evaluate the leakage from her dishwasher. On August 27, 2020, the appliance repair company

inspected the dishwasher to determine the leakage source. At that time, the repair technician

informed Ms. Cleveland that the leak was coming from the diverter motor seal, which was caused

by a product defect and was not fixable. The technician charged Ms. Cleveland $109.95 for the

service visit, and advised her to replace her dishwasher.

       64.     When the Dishwasher was removed for inspection, it was also discovered that the

grout on the tile floor under the Dishwasher was damaged by the leakage.

       65.     After learning that her dishwasher suffers from a known defect, Ms. Cleveland

performed research online and discovered numerous other consumers reporting the same or similar

incidences of leakage from the Diverter Shaft Seal.

       66.     In August of 2020, Ms. Cleveland also contacted the seller, Warners’ Stellian, to

notify it of the failure and resulting damage, but has not received a response.

       67.     On September 4, 2020, Ms. Cleveland contacted Whirlpool via its 1-800 warranty

claims phone number. After waiting on hold for an hour, Ms. Cleveland notified the Whirlpool

representative that her Dishwasher had a defect in which water was leaking through the Shaft Seal.

The Whirlpool representative informed her that the expected service life of a Dishwasher is five

years. However, despite the fact Ms. Cleveland’s Dishwasher is approximately four years old,




                                FIRST AMENDED CLASS ACTION COMPLAINT

                                                      18
        CASE 0:20-cv-01906-WMW-KMM Doc. 25 Filed 11/25/20 Page 19 of 58



Whirlpool informed her that it would not replace her Dishwasher. The Whirlpool representative

further represented to her that its warranty system did not indicate any similar complaints.

       68.     Because Whirlpool unlawfully concealed the Defect from Ms. Cleveland before her

purchase, as well as after the Dishwasher was installed in her home and being used, she did not

suspect (and had no reason to suspect) that there was anything wrong with the Dishwasher until the

Defect manifested.

       69.     Ms. Cleveland’s Dishwasher has not operated properly for its life expectancy. Had

she known of the defect, she would have either not purchased the Dishwasher or would have paid

less than she did. Therefore, she did not receive the benefit of her bargain.


                                  WHIRLPOOL’S ACTUAL OR
                           CONSTRUCTIVE KNOWLEDGE OF THE DEFECT

       70.     Whirlpool knew or should have known when it sold the Dishwashers to the public

that the Dishwashers suffered from the Defect, and that the Defect caused the Dishwashers to

function improperly during their expected useful life, fail prematurely, and potentially result in

significant property damage to consumers and the public.

       71.     Whirlpool’s knowledge of these facts is established through consumer complaints,

including several years of public Internet posts on consumer websites, complaining that the

Dishwashers failed during normal use. Despite its knowledge, Whirlpool did not remedy or

eliminate the Defect in the Dishwashers or remove them from the stream of commerce.

       72.     Instead, Whirlpool replaced the defective Dishwashers with equally defective

Dishwashers, provided replacement Diverter Shaft Seals, which could not have been properly




                                FIRST AMENDED CLASS ACTION COMPLAINT

                                                      19
           CASE 0:20-cv-01906-WMW-KMM Doc. 25 Filed 11/25/20 Page 20 of 58



installed, provided defective sump assemblies with the same inverted Diverter Shaft Seal, which

did not remedy the Defect, and/or improperly denied warranty claims.

           73.     Years of customer complaints are also available online regarding the Dishwashers.

For example, consumers noted:

From       Rmsmith      on    AppliancePartsPros.com        approximately     8    years    ago   (Kenmore

665.13922K010):16

           I have a rather newish Kenmore Elite 665.13922K010. It has been leaking from the
           diverter motor, W10056349, which has been replaced by W10155344. The problem
           is the seal that the diverter motor rests against, which basically a 3/4" rubber washer
           with a spring behind it. I just ordered a replacement diverter motor, but I can't see
           that the seal is included; the exploded diagram didn't have a complete breakout.

From Manage my Life on September 23, 2013 on Shopyourway.com (Kenmore 665.13942K010):17


           Kenmore Elite Dishwasher model 665.13942K010. Sears repairman replaced
           Diverter Valve Motor W10056349 on 5/21/12 due to water leaking through it.
           Today (9/23/13) same leak is occurring again (this time resulting in water damage to
           surrounding area). Unfortunately, this time the leak also damaged one of the
           electrical connectors (on harness) that connects to the Diverter. It appears that the
           following     parts    need     to   be    replaced     to    resolve    the     leak.
           1.                     Diverter                     Valve                      Motor
           2. Sump with Seal (because I cannot locate a part number for the seal alone)
           3. Wiring Harness (due to the one small harness connector being severely corroded)
           Questions:
           A. Is there a way to keep from having to replace these parts every year or so?
           B. Can the connector for the harness be purchased alone so that I do not have to buy
           and               replace              the              whole                harness?
           C. Can the seal in the Sump be purchased so that I do not have to purchase and
           replace                     the                     whole                      sump?
           Thanks for any assistance you can provide.




16
     https://forum.appliancepartspros.com/posts/t469715-leaking-dishwasher-diverter-motor
17
     https://www.shopyourway.com/questions/1230353



                                    FIRST AMENDED CLASS ACTION COMPLAINT

                                                           20
       CASE 0:20-cv-01906-WMW-KMM Doc. 25 Filed 11/25/20 Page 21 of 58



From Frances Starkey on ClassActionRebates.com on February 26, 2016:18

      The first time I used the Kitchen-Aid dishwasher, I flooded my kitchen which in my
      brand new house.

      I called Sears to report this and thet sent a repairman out and he had to replace the
      the pump/motor assembly.

From Arpanshah on AppliancePartsPros.com approximately 4 years ago:19

      My Whirlpool Dishwasher was leaking from the bottom center and I had a
      technician who diagnosed and said that the Diverter Motor, part number
      W10537869, needs to be replaced. He just opened the bottom cover, ran the
      dishwasher cycle and saw water leaking but didn't remove any of the parts to
      confirm.

      I looked at the forum here, ordered and fixed that part and the dishwasher is still
      leaking in the same place near the diverter motor. What did I miss? It seems the old
      diverter           motor            part           is          still          good.

      Is it he grommet? Do i need to replace the Sump (W10455268) assembly? Is that
      something I can do myself? Any help is appreciated. I searched the forums and some
      talked about replacing sump and some talked about just applying the seal/grommet.


From tdietz on AppliancePartsPros.com approximately 3 years ago (Kenmore 665.12762K310):20

      My dishwasher was leaking right around the diverter motor. I replaced the diverter
      motor thinking that was the problem but when I got in there, I saw the rubber
      grommet and I figured that was the problem. I went ahead and replaced the motor
      but the leak continued. The manufacturer discontinued selling the $5 grommet
      because they are evil :-) and instead only sold the entire sump which was a pain to
      replace                and                $50                 to              boot.

      Before I went that route, I removed the diverter motor and then treated the grommet


      18
           https://www.classactionrebates.com/settlements/whirpool/
      19
           https://forum.appliancepartspros.com/posts/t565085-whirpool-leaking
      20
           https://forum.appliancepartspros.com/posts/t573018-whirlpool-diverter-motor-grommet-leak-fix




                                   FIRST AMENDED CLASS ACTION COMPLAINT

                                                         21
    CASE 0:20-cv-01906-WMW-KMM Doc. 25 Filed 11/25/20 Page 22 of 58



    with Permatex spray sealant from inside of the dishwasher. I put 5 coats which took
    about 10 minutes as you only wait about a minute between coat. After about 30
    minutes, I also turned the dishwasher over and sprayed the sealant from the bottom a
    couple of coats as well. Then let it sit overnight. I reinstalled the diverter motor and
    ran the dishwasher through a couple of cycle the next day and not a leak in sight.
    Not sure how long this fix will hold but think it's a worth a shot. This stuff has
    worked good on a oil leak underneath an old car I had so I assume it will last some
    time.

    Worse case scenario, you end up replacing the entire sump anyways so this is at
    least worth a shot before going that route. Certainly won't hurt anything other than
    the sump you'll already be replacing and is leaking anyways. Good luck!

From J_H on AppliancePartsPros.com approximately 2 years ago (Kenmore 665.12762K310):21

    From the dates on these posts, I guess I am one of the lucky ones who didn't have his
    Kenmore 665.12762K310 start leaking until it was nearly 5 years old. However, I
    am one of the unlucky ones who got the version with the grommet permanently
    affixed to the sump. Replaced the sump, replaced the diverter motor. Still leaks, and
    it's not just a trickle. What an abomination of design this thing is.

    Undecided about how to proceed. I have read the various posts - there is no easy
    way to create positive pressure to seal the grommet/shaft interface. I'm going to try
    to find a tight neoprene gasket & silicone and hope for the best.


 From Orchid Borealis Blogspot on March 11, 2017 (Kenmore 665.12793K311):22

    After 1 year of the major repair, it developed another problem in fall/winter
    2016. This time, the diverter motor started to leak. From googling around, this is
    another common problem with this model. The lower spray arm of this dishwasher
    is not passively moving like most of the dishwasher; a motor controls the movement
    of the spray arm (see the next photo). I'm guessing the leaking problem is coming
    from this more complicated mechanisms. In this post, I'm going to illustrate how to
    repair this problem.




    21
         https://forum.appliancepartspros.com/posts/t469715findlastpost-leaking-dishwasher-diverter-motor
    22
         http://orchidborealis.blogspot.com/2017/03/kenmore-dishwasher-leaking-diverter.html




                                  FIRST AMENDED CLASS ACTION COMPLAINT

                                                          22
        CASE 0:20-cv-01906-WMW-KMM Doc. 25 Filed 11/25/20 Page 23 of 58



       74.    In conjunction with Whirlpool’s vast experience with kitchen appliances, including

designing and selling the Dishwashers, these facts and complaints illustrate that Whirlpool knew or

should have known of the Defect.

       75.    Whirlpool has a duty to disclose the Defect and to not conceal the Defect from

Plaintiff and Class Members. Whirlpool’s failure to disclose, or active concealment of, the Defect

places Plaintiff and Class members at risk of property damage.

       76.    Upon information and belief, Whirlpool is currently still selling the defective

Dishwashers, concealing the defect, failing to notify consumers of the Defect, and failing to recall

the Dishwashers.

       77.    Moreover, Whirlpool continues to falsely represent through written warranties and

manuals that the Dishwashers are free from defect, are of merchantable quality, and will perform

dependably for years.

       78.    When corresponding with customers, Whirlpool does not disclose that the

Dishwashers suffer from the Defect. As a result, reasonable consumers, including Plaintiff and

Class Members, purchased and used, and continue to purchase and use the Dishwashers in their

homes even though they will prematurely fail and cause damage to other property.

       79.    When Whirlpool replaces units, it fails to disclose the known Defect and it replaces

the defective Dishwashers with equally defective Dishwashers, or just replaces the parts with the

same defective Diverter Shaft Seals and assemblies, which does not remedy the Defect.




                               FIRST AMENDED CLASS ACTION COMPLAINT

                                                    23
        CASE 0:20-cv-01906-WMW-KMM Doc. 25 Filed 11/25/20 Page 24 of 58



        80.     Had Plaintiff, Class Members, and the consuming public known that the

Dishwashers were defective, would prematurely fail and cause damage to their property, and they

would not have purchased the Dishwashers.

        81.     Whirlpool has wrongfully placed on Plaintiff and Class members the burden,

expense, and difficulty involved in discovering the Defect, repairing and replacing the Dishwashers

(potentially multiple times), and paying for the cost of damages caused by the Defect.

        82.     Since the filing of Plaintiff’s original Complaint, consumers have brought similar

class action lawsuits against Whirlpool for the Defect in the Northern District of Illinois in Redmon

v. Whirlpool Corporation, C.A.N.: 1:20-cv-06626 and Eastern District of Pennsylvania in Larchuk

v. Whirlpool Corporation, C.A.N.: 2:20-cv-04442.

                            TOLLING OF THE STATUTE OF LIMITATIONS

A.      Discovery Rule Tolling


        83.     Plaintiff and Class Members could not have discovered through the exercise of

reasonable diligence that their Dishwashers were defective within the time-period of any applicable

statutes of limitation.

        84.     Among other things, neither Plaintiff nor the other Class Members knew or could

have known that the Dishwashers contain the Defect, which causes leakage and damage to other

property.

        85.     Further, Plaintiff and Class Members had no knowledge of the Defect and it

occurred in a part of the Dishwashers that is not visible to consumers. Whirlpool attempted to




                               FIRST AMENDED CLASS ACTION COMPLAINT

                                                     24
        CASE 0:20-cv-01906-WMW-KMM Doc. 25 Filed 11/25/20 Page 25 of 58



conceal its knowledge of the defect or otherwise capitalize on it further by selling defective

replacement parts. Accordingly, any applicable statute of limitation is tolled.

B.     Fraudulent Concealment Tolling


       86.     Throughout the time period relevant to this action, Whirlpool concealed from and

failed to disclose to Plaintiff and the other Class Members vital information about the Defect

described herein.

       87.     Whirlpool kept Plaintiff and the other Class Members ignorant of vital information

essential to the pursuit of their claims. As a result, neither Plaintiff nor the other Class Members

could have discovered the Defect, even upon reasonable exercise of diligence.

       88.     Throughout the Class Period, Whirlpool has been aware that the pump assembly it

designed, manufactured, and installed in the Dishwashers contained the Defect, resulting in

premature and accelerated degradation of the Diverter Shaft Seal and eventual leakage.

       89.     Despite its knowledge of the Defect, Whirlpool failed to disclose and concealed, and

continues to conceal, this critical information from Plaintiff and the other Class Members, even

though, at any point in time, it could have disclosed the Defect through recall, individual

correspondence, media release, or by other means.

       90.     Plaintiff and the other Class Members justifiably relied on Whirlpool to disclose the

Defect in the Dishwashers that they purchased, because the Defect was hidden and not discoverable

through reasonable efforts by Plaintiff and the other Class Members.




                                FIRST AMENDED CLASS ACTION COMPLAINT

                                                     25
        CASE 0:20-cv-01906-WMW-KMM Doc. 25 Filed 11/25/20 Page 26 of 58



       91.     Thus, the running of all applicable statutes of limitation have been suspended with

respect to any claims that Plaintiff and the other Class Members have sustained as a result of the

Defect, by virtue of the fraudulent concealment doctrine.

C.     Estoppel


       92.     Whirlpool was under a continuous duty to disclose to Plaintiff and the other Class

Members the true character, quality, and nature of the defective Dishwashers.

       93.     Whirlpool knowingly concealed the true nature, quality, and character of the

defective Dishwashers from consumers.

       94.     Based on the foregoing, Whirlpool is estopped from relying on any statutes of

limitations in defense of this action.

                                   FED. R. CIV. P. 9(b) ALLEGATIONS
                                      (Affirmative and By Omission)

       95.     Rule 9(b) of the Federal Rules of Civil Procedure provides that “[i]n alleging fraud

or mistake, a party must state with particularity the circumstances constituting fraud or

mistake.” Although, the Defendant is in the best position to know what content it placed on

its website and in marketing materials during the relevant timeframe, to the extent necessary,

as detailed in the paragraphs above and below, Plaintiff has satisfied the requirements of Rule 9(b)

by establishing the following elements with sufficient particularity:

       96.     WHO: Defendant made material misrepresentations and/or omissions of fact in its

website representations, warranties, owner’s manuals, labeling and marketing, through employees

receiving warranty claims, and through authorized retailers of the Dishwashers as to demonstrate




                                 FIRST AMENDED CLASS ACTION COMPLAINT

                                                     26
         CASE 0:20-cv-01906-WMW-KMM Doc. 25 Filed 11/25/20 Page 27 of 58



that the Dishwashers were not defective, were of high-quality, would require fewer repairs than any

other dishwashers on the market, and that the Dishwashers would last as long as the average service

life of a dishwasher.

         97.   WHAT: Defendant’s conduct here was, and continues to be, fraudulent because it

omitted and concealed that the Dishwashers were defective, would damage Plaintiff and Class

Members, were not of high-quality, would require more repairs than other dishwashers, and would

fail prior to the average service life of a dishwasher. Defendant’s employees and representatives

made affirmative misrepresentations to Plaintiff and Class Members at the time of purchase

regarding the same qualities, and when consumers contacted Defendant to make warranty claims.

Further, Defendant’s conduct has the effect of deceiving Plaintiff and Class Members into believing

that the Dishwashers are not defective, were of “high-quality,” would require “fewer repairs” than

any other dishwashers on the market, and that the Dishwashers would last as long as the average

service life of a dishwasher. Defendant knew or should have known this information is material to

the reasonable consumer, including Plaintiff and Class Members, and impacts the purchasing

decision, and yet it omits a necessary warning that the Dishwashers have the propensity to fail,

leak, and cause damage to other property, including flooring, cabinetry, and other surrounding

areas.

         98.   WHEN: Defendant made the material misrepresentations and/or omissions detailed

herein at the time Plaintiff and Class Members performed research on the Dishwashers to gather

information that would aid them in selecting the best dishwasher to purchase, at the time Plaintiff




                               FIRST AMENDED CLASS ACTION COMPLAINT

                                                   27
        CASE 0:20-cv-01906-WMW-KMM Doc. 25 Filed 11/25/20 Page 28 of 58



and Class Members purchased the Dishwashers, at the time Plaintiff and Class Members made

warranty claims, and continuously throughout the applicable Class periods.

        99.      WHERE: Defendant’s material misrepresentations and/or omissions were made on

its website, through marketing materials, in warranties, in user manuals, on the labeling of the

packaging, through employees, and through authorized retailers.

        100.     HOW: Defendant made written misrepresentations and/or failed to disclose material

facts regarding the true risks of normal use of the Dishwashers.

        101.     WHY: Defendant engaged in the material misrepresentations and/or omissions

detailed herein (e.g. knowing and concealing that knowledge of the Defect) for the express purpose

of inducing Plaintiff and other reasonable consumers to purchase and/or pay for the Dishwashers.

Defendant profited by selling the Dishwashers to many thousands of consumers.

        102.     INJURY: Plaintiff and Class Members purchased the Dishwashers when they

otherwise would not have absent Defendant’s misrepresentations and/or omissions, and,

alternatively,    paid more for the Dishwashers than they would have absent Defendant’s

misrepresentations and/or omissions. Further, the Dishwashers resulted in out-of-pocket costs to

repair, faced replacement of parts with additional defective parts, and damage to other property

resulting from the leaks.

                                     CLASS ACTION ALLEGATIONS

        103.     Plaintiff brings this lawsuit individually and as a class action on behalf of all others

similarly situated pursuant to Federal Rules of Civil Procedure 23(a), (b)(2), and/or (b)(3). This




                                 FIRST AMENDED CLASS ACTION COMPLAINT

                                                       28
       CASE 0:20-cv-01906-WMW-KMM Doc. 25 Filed 11/25/20 Page 29 of 58



action satisfies the numerosity, commonality, typicality, adequacy, predominance, and superiority

requirements of Rule 23.

       104.    The Class is defined as:

       During the fullest period allowed by law, all persons in the State of Minnesota
       who own or owned a Whirlpool manufactured dishwasher with an inverted
       Diverter Shaft Seal.
       105.   Excluded from the Class are Defendant and its subsidiaries and affiliates,

Defendant’s executives, board members, legal counsel, the judges and all other court personnel to

whom this case is assigned, and their immediate families.

       106.   Plaintiff reserves the right to amend or modify the Class definition after she has had

an opportunity to conduct discovery.

       107.   Numerosity: Fed. R. Civ. P. 23(a)(1). The Class is so numerous that the joinder of

all members is unfeasible and not practicable. While the precise number of Class Members has not

been determined at this time, Plaintiff is informed and believes that thousands of consumers have

purchased the Class Dishwashers in Minnesota.

       108.   Commonality: Fed. R. Civ. P. 23(a)(2) and (b)(3). There are questions of law and

fact common to the Class, which predominate over any questions affecting only individual Class

Members. These common questions of law and fact include, without limitation:

              a.    whether the Class Dishwashers are defectively designed or manufactured;

              b.    whether the fact that the Class Dishwashers suffer from the Defect would be

                    considered material to a reasonable consumer;




                               FIRST AMENDED CLASS ACTION COMPLAINT

                                                    29
        CASE 0:20-cv-01906-WMW-KMM Doc. 25 Filed 11/25/20 Page 30 of 58



               c.    whether, as a result of Whirlpool’s concealment or failure to disclose material

                     facts, Plaintiff and Class Members acted to their detriment by purchasing Class

                     Dishwashers manufactured by Whirlpool;

               d.    whether Whirlpool was aware of the Defect;

               f.    whether Whirlpool breached express warranties with respect to the Class

                     Dishwashers;

               g.    whether Whirlpool has a duty to disclose the defective nature of the Class

                     Dishwashers to Plaintiff and Class Members;

               h.    whether Plaintiff and Class Members are entitled to equitable relief, including

                     but not limited to a preliminary and/or permanent injunction; and

               i.    in other ways to be supplemented as a result of discovery.

       109.    Adequate Representation: Plaintiff will fairly and adequately protect the interests of

Class Members. Plaintiff has retained attorneys experienced in the prosecution of class actions,

including consumer and product defect class actions, and Plaintiff intends to prosecute this action

vigorously.

       110.    Predominance and Superiority: Plaintiff and Class Members have all suffered and

will continue to suffer harm and damages as a result of Whirlpool’s unlawful and wrongful

conduct. A class action is superior to other available methods for the fair and efficient adjudication

of the controversy. Absent a class action, Class Members would likely find the cost of litigating

their claims prohibitively high and would therefore have no effective remedy at law. Because of

the relatively small size of Class Members’ individual claims, it is likely that few Class Members




                                FIRST AMENDED CLASS ACTION COMPLAINT

                                                     30
        CASE 0:20-cv-01906-WMW-KMM Doc. 25 Filed 11/25/20 Page 31 of 58



could afford to seek legal redress for Whirlpool’s misconduct.          Absent a class action, Class

Members will continue to incur damages, and Whirlpool’s misconduct will continue without

remedy. Class treatment of common questions of law and fact would also be a superior method to

multiple individual actions or piecemeal litigation in that class treatment will conserve the

resources of the courts and the litigants and will promote consistency and efficiency of

adjudication.

                                             FIRST CAUSE OF ACTION
                                      BREACH OF EXPRESS WARRANTY
                                 (Plaintiff Individually and on Behalf of the Class)

       111.     Plaintiff hereby adopts and incorporates by reference, all foregoing allegations as

though fully set forth herein.

       112.     In connection with its sale of the Dishwashers, Whirlpool expressly warranted that

they were free from defect at the time of purchase, and suitable for reliable dishwashing.

       113.     The defectively designed Dishwashers are subject to and otherwise covered by

Whirlpool’s Major Appliance Limited Warranty, which applies to each Microwave.

       114.     Each of the Dishwashers has an identical or substantially identical warranty.

       115.     Whirlpool was obligated, under the terms of the express warranty to adequately

repair or replace the defective Dishwashers for Plaintiff and Class Members.

       116.     Privity is not required because Plaintiff and each of the members of the Class are the

intended beneficiaries of Whirlpool’s warranties and its sale through retailers. The retailers were

not intended to be the ultimate consumers of the Dishwashers and have no rights under the

warranty agreements provided by Whirlpool.           Whirlpool’s warranties were designed for and




                                   FIRST AMENDED CLASS ACTION COMPLAINT

                                                       31
        CASE 0:20-cv-01906-WMW-KMM Doc. 25 Filed 11/25/20 Page 32 of 58



intended to benefit the consumer only and Plaintiff and Class Members were the intended

beneficiaries of the Dishwashers.

       117.    More specifically, Whirlpool’s manifest intent that its warranties apply to Plaintiff

and consumer Class Members as third-party beneficiaries, is evident from the statements contained

in its product literature, including its Warranty, which specifically states the Dishwashers are to be

used for non-commercial, household use. Likewise, it was reasonably foreseeable that Plaintiff and

consumer Class Members would be the intended beneficiary of the products and warranties.

       118.    In its Warranty, Whirlpool warrants that the Dishwashers would be free of defects

for one year from the date of purchase. Exhibit A.

       119.    Whirlpool’s warranty representations are made online, on its packaging, through its

various manuals, and its Warranty.

       120.    Whirlpool breached the warranty because it improperly and unlawfully denies valid

warranty claims, and it has failed or refused to adequately repair or replace the Dishwashers with

non-defective units or parts. Plaintiff and the Class Members have privity of contract with

Whirlpool through their purchase of the Dishwashers, and through the express written and implied

warranties that Whirlpool issued to its customers. Whirlpool’s warranties accompanied the

Dishwashers and were intended to benefit end-users of the Dishwashers.

       121.    To the extent Class Members purchased the Dishwashers from third-party retailers

or via the purchase of their homes, privity is not required because the Class Members are intended

third-party beneficiaries of the contracts between Whirlpool and third-party retailers and because

the express warranty is intended to benefit purchasers or owners subsequent to the third-party




                                FIRST AMENDED CLASS ACTION COMPLAINT

                                                     32
        CASE 0:20-cv-01906-WMW-KMM Doc. 25 Filed 11/25/20 Page 33 of 58



retailer; in other words, the contracts are intended to benefit the ultimate consumer or user of the

Dishwashers.

       122.    The express written warranties covering the Dishwashers were a material part of the

bargain between Whirlpool and consumers. At the time it made these express warranties, Whirlpool

knew of the purpose for which Dishwashers were to be used.

       123.    Whirlpool breached its express warranties by selling Dishwashers that were, in

actuality, not free of defect, would inevitably fail prematurely, were not made from merchantable

material and workmanship, and could not be used for the ordinary purpose of reliably cleaning

dishwashes. Whirlpool breached its express written warranties to Plaintiff and Class Members in

that the Dishwashers are defective at the time they leave the manufacturing plant, and on the first

day of purchase, creating a risk of damage to Plaintiff and Class Members.

       124.    The Dishwashers that the Plaintiff and Class Members purchased contained a Defect

that caused each of them damages including water damage to cabinetry and flooring, loss of the

product, loss of the benefit of their bargain, and other property damage.

       125.    The limitations and the exclusions in Whirlpool’s Warranty are harsh, oppressive,

one-sided, unconscionable and unenforceable, as described supra, particularly in light of the fact

that Whirlpool knew that the Dishwashers suffered from the Defect described herein.

       126.    Whirlpool unilaterally imposed the Warranty limitations and exclusions for its own

benefit at the expense of Plaintiff and Class Members.

       127.    Any attempt by Whirlpool to limit or disclaim the express warranty in a manner that

would exclude coverage of the Defect is unconscionable as a matter of law because the relevant




                                FIRST AMENDED CLASS ACTION COMPLAINT

                                                     33
        CASE 0:20-cv-01906-WMW-KMM Doc. 25 Filed 11/25/20 Page 34 of 58



purchase transactions were tainted by Whirlpool’s concealment of material facts. Thus, any such

effort to disclaim, or otherwise limit, its liability for the Defect is null and void.

        128.    Moreover, Whirlpool was put on constructive notice about its breach through its

review of consumer complaints dating back at least eight years ago, as well as through appliance

sale and repair entities, and, upon information and belief, through product testing.

        129.    Plaintiff put the seller of her Dishwasher on notice of her discovery of the Defect in

August 2020 and did not receive a response.

        130.    Plaintiff put Whirlpool on notice of the Defect prior to the filing of this lawsuit and

did not receive an adequate response.

        131.    Despite having notice and knowledge of the defective nature of the Dishwashers,

Whirlpool failed to provide any relief to Class Members with Dishwashers more than one (1) year

old, failed to provide a non-defective replacement Dishwasher to Plaintiff and Class Members, and

otherwise failed to offer any appropriate repair or compensation from the resulting damages.

        132.    Whirlpool breached its express warranty to adequately repair or replace the

Dishwashers despite its knowledge of the Defect, and/or despite its knowledge of alternative

designs, materials, and/or options for manufacturing the Dishwashers.

        133.    To the extent that Whirlpool offered to replace the defective Dishwashers, the

warranty of replacement fails in its essential purpose given it is insufficient to make Plaintiff and

Class Members whole because the warranty covering the Dishwashers gives Whirlpool the option

to repair or replace the Dishwasher, where neither is sufficient. Specifically, in its course of

business, Whirlpool often has opted to provide a replacement Dishwashers to complaining




                                 FIRST AMENDED CLASS ACTION COMPLAINT

                                                        34
        CASE 0:20-cv-01906-WMW-KMM Doc. 25 Filed 11/25/20 Page 35 of 58



consumers; however, the replacement Dishwasher likewise contains the Defect, resulting in the

same or similar damages.

       134.    Further, where Whirlpool has sold or otherwise provided replacement sump

assemblies, those assemblies are likewise defective and have failed or will fail in the same manner.

       135.    Many of the damages resulting from the defective Dishwashers cannot be resolved

through the limited remedy of replacement, as incidental and consequential damages from water

damage to cabinetry and flooring that Plaintiff and Class Members have already been suffered due

to Whirlpool’s conduct as alleged herein.

       136.    Accordingly, recovery by Plaintiff and Class Members is not limited to the limited

warranty of replacement, and they seek all remedies allowed by law.

       137.    Had Plaintiff, Class Members, and the consuming public known that the

Dishwashers were defective, would cause damage, or that Whirlpool would not properly honor its

warranty, they would not have purchased the Dishwashers or would have paid less for them.

       138.    To the extent any express warranties do not by their terms cover the Defect alleged

in this Complaint, and to the extent the contractual remedy is in any other respect insufficient to

make Plaintiff and Class Members whole, the warranty fails of its essential purpose and,

accordingly, recovery by Plaintiff and Class Members are not restricted to the promises in any

written warranties, and they seek all remedies that may be allowed.

       139.    Plaintiff and Class Members have performed all duties required of them under the

terms of the express warranty, except as may have been excused or prevented through the conduct




                               FIRST AMENDED CLASS ACTION COMPLAINT

                                                    35
        CASE 0:20-cv-01906-WMW-KMM Doc. 25 Filed 11/25/20 Page 36 of 58



of Whirlpool or by operation of law in light of Whirlpool’s conduct described throughout this

Complaint.

       140.    Whirlpool has received timely notice regarding the problems at issue in this

litigation, and notwithstanding, Whirlpool has failed and refused to offer an effective remedy.

       141.    As a direct and proximate result of Whirlpool’s breach of its express written

warranties, Plaintiff and Class Members have suffered damages and did not receive the benefit of

the bargain and are entitled to recover compensatory damages, including, but not limited to the cost

of inspection, repair, damage to other property, and diminution in value. Plaintiff and Class

members suffered damages at the point of sale stemming from their overpayment for the defective

Dishwashers, in addition to water damage to other property, and loss of the product and its intended

benefits.

                                           SECOND CAUSE OF ACTION
                                      BREACH OF IMPLIED WARRANTY
                                 (Plaintiff Individually and on Behalf of the Class)

       142.    Plaintiff hereby adopts and incorporates by reference, all foregoing allegations as

though fully set forth herein.

       143.    Whirlpool is a merchant and was at all relevant times involved in the manufacturing,

and is the distributor, warrantor, and/or seller of the Dishwashers. Whirlpool knew or had reason to

know of the specific use for which the Dishwashers, as goods, were purchased.

       144.    Whirlpool entered into agreements with retailers, suppliers, and/or contractors to sell

its Dishwashers to be installed at Plaintiff’s and Class Members’ homes.




                                   FIRST AMENDED CLASS ACTION COMPLAINT

                                                       36
        CASE 0:20-cv-01906-WMW-KMM Doc. 25 Filed 11/25/20 Page 37 of 58



       145.    Whirlpool provided Plaintiff and Class Members with implied warranties that the

Dishwashers were merchantable and fit for the ordinary purposes for which they were used and

sold and were not otherwise injurious to consumers and their property.

       146.    However, the Dishwashers are not fit for their ordinary purpose of providing

reasonably reliable method of washing dishes because, inter alia, the Dishwashers contain a Defect

preventing the Dishwashers from reliably washing dishes and causing leakage outside of the unit

and damaging cabinetry and flooring. Therefore, the Dishwashers are not fit for their particular

purpose of reliably washing dishes.

       147.    Plaintiff and Class Members have had sufficient direct dealings with either

Whirlpool or one of its agents to establish privity of contract between Whirlpool, on the one hand,

and Plaintiff and each Class Member, on the other hand.

       148.    Privity is not required because Plaintiff and each of the Class Members are the

intended beneficiaries of Whirlpool’s warranties and its sale through retailers. The retailers were

not intended to be the ultimate consumers of the Dishwashers and have no rights under the

warranties provided by Whirlpool. Whirlpool’s warranties were designed for and intended to

benefit the consumer only and Plaintiff and Class Members were the intended beneficiaries of the

Dishwashers.

       149.    More specifically, Whirlpool’s manifest intent that its warranties apply to Plaintiff

and consumer Class Members as third-party beneficiaries, is evident from the statements contained

in its product literature, including its Warranty, which specifically states the Dishwashers are to be




                                FIRST AMENDED CLASS ACTION COMPLAINT

                                                     37
        CASE 0:20-cv-01906-WMW-KMM Doc. 25 Filed 11/25/20 Page 38 of 58



used for household, non-commercial use. Likewise, it was reasonably foreseeable that Plaintiff and

consumer Class Members would be the intended beneficiary of the products and warranties.

       150.    Whirlpool impliedly warranted that the Dishwashers were of merchantable quality

and fit for such use. These implied warranties included, among other things: (i) a warranty that the

Dishwashers manufactured, supplied, distributed, and/or sold by Whirlpool were safe and reliable

for cleaning dishes; and (ii) a warranty that the Dishwashers would be fit for their intended use

while the Dishwashers were being operated.

       151.    Contrary to the applicable implied warranties, the Dishwashers, at the time of sale

and thereafter, were not fit for their ordinary and intended purpose of providing Plaintiff and Class

Members with reliable and durable methods of cleaning dishes. Instead, the Dishwashers suffer

from a defective design and/or manufacture, as alleged herein.

       152.    Whirlpool’s failure to adequately repair or replace the defective Dishwashers has

caused the warranty to fail of its essential purpose.

       153.    Whirlpool breached the implied warranties because the Dishwashers were sold with

the Defect, which substantially reduced and/or prevented the Dishwashers from being used for safe

food preparation.

       154.    Whirlpool’s one-year limitation on its implied warranties is unconscionable because

Whirlpool had longstanding knowledge of the Defect prior to sale. Whirlpool unilaterally imposed

the Warranty limitations and exclusions for its own benefit at the expense of Plaintiff and Class

Members.

       155.    Plaintiff notified the seller of her Dishwasher of the Defect in August of 2020.




                                FIRST AMENDED CLASS ACTION COMPLAINT

                                                        38
        CASE 0:20-cv-01906-WMW-KMM Doc. 25 Filed 11/25/20 Page 39 of 58



       156.    Plaintiff provided Whirlpool notice of its breach in September of 2020, prior to the

filing of this Complaint.

       157.    Moreover, Whirlpool was put on constructive notice about its breach through its

review of consumer complaints and other reports described herein, and, upon information and

belief, through product testing.

       158.    Had Plaintiff, Class Members, and the consuming public known that the

Dishwashers were defective or would cause damage, they would not have purchased the

Dishwashers or would have paid less for them.

       159.    As a direct and proximate result of the foregoing, Plaintiff and the Class Members

suffered, and continue to suffer, financial damage and injury, and are entitled to all damages, in

addition to costs, interest and fees, including attorneys’ fees, as allowed by law.

                                           THIRD CLAIM FOR RELIEF
                                             (IN THE ALTERNATIVE)
                                                 Breach of Contract
                                 (Plaintiff Individually and on Behalf of the Class)

       160.    Plaintiff hereby adopts and incorporates by reference, all foregoing allegations as

though fully set forth herein.

       161.    To the extent Whirlpool’s commitment is deemed not to be a warranty under

Minnesota’s Uniform Commercial Code, Plaintiff plead in the alternative under common law

warranty and contract law.

       162.    Plaintiff and Class Members purchased the Dishwashers from Whirlpool or through

authorized retailers and other appliance stores.




                                   FIRST AMENDED CLASS ACTION COMPLAINT

                                                       39
        CASE 0:20-cv-01906-WMW-KMM Doc. 25 Filed 11/25/20 Page 40 of 58



       163.    Whirlpool expressly warranted that the Dishwashers were fit for their intended

purpose and that they were free of defect and suitable for cleaning dishes.

       164.    Whirlpool made the foregoing express representations and warranties to all

consumers, which became the basis of the bargain between Plaintiff, Class Members, and

Whirlpool.

       165.    Defendant breached the warranties and/or contract obligations by placing the

defective Dishwashers into the stream of commerce and selling them to consumers, when it knew

the Dishwashers contained the Defect, were prone to premature failure, would not reliable clean

dishes, and would cause water damage to cabinetry and flooring. These deficiencies substantially

and/or completely impair the use and value of the Dishwashers.

       166.    The deficiencies described existed when the Dishwashers left Whirlpool’s

possession or control and were sold to Plaintiff and Class Members.           The deficiencies and

impairment of the use and value of the Dishwashers were not discoverable by Plaintiff or Class

Members at the time of the purchase of the Dishwashers.

       167.    Had Plaintiff, Class Members, and the consuming public known that the

Dishwashers were defective or would cause damage, they would not have purchased the

Dishwashers or would have paid less for them.

       168.    As a direct and proximate cause of Whirlpool’s breach of contract, Plaintiff and

Class Members were harmed because they would not have purchased the Dishwashers if they knew

the truth about the defective condition of the Dishwashers.




                               FIRST AMENDED CLASS ACTION COMPLAINT

                                                     40
        CASE 0:20-cv-01906-WMW-KMM Doc. 25 Filed 11/25/20 Page 41 of 58



                                          FOURTH CLAIM FOR RELIEF
                                             (IN THE ALTERNATIVE)
                                                 Unjust Enrichment
                                 (Plaintiff Individually and on Behalf of the Class)


       169.    Plaintiff hereby adopts and incorporates by reference, all foregoing allegations as

though fully set forth herein.

       170.    This alternative claim is asserted on behalf of Plaintiff and Class Members to the

extent there is any determination that any contracts between Class Members and Whirlpool do not

govern the subject matter of the disputes with Whirlpool, or that Plaintiff does not have standing to

assert any contractual claims against Whirlpool.

       171.    Plaintiff and Class Members conferred a monetary benefit on Whirlpool, and

Whirlpool had knowledge of this benefit. The average price paid by Plaintiff and Class Members

for the Dishwashers was more than $500.00.

       172.    By its wrongful acts and omissions described herein, including selling the defective

Dishwashers, Whirlpool was unjustly enriched at the expense of Plaintiff and Class Members.

       173.    Plaintiff’ and Class Members’ detriment and Whirlpool’s enrichment were related to

and flowed from the wrongful conduct alleged in this Complaint.

       174.    It would be inequitable for Whirlpool to retain the profits, benefits, and other

compensation obtained from its wrongful conduct as described herein in connection with selling the

defective Dishwashers.

       175.    Plaintiff and Class Members seek restitution from Whirlpool and an order of this

Court proportionally disgorging all profits, benefits, and other compensation obtained by Whirlpool




                                   FIRST AMENDED CLASS ACTION COMPLAINT

                                                       41
        CASE 0:20-cv-01906-WMW-KMM Doc. 25 Filed 11/25/20 Page 42 of 58



from its wrongful conduct and establishing a constructive trust from which Plaintiff and Class

Members may seek restitution.

                                    FIFTH CAUSE OF ACTION
                 UNFAIR AND DECEPTIVE TRADE PRACTICES IN VIOLATION OF
                            MINNESOTA CONSUMER FRAUD ACT
                                   (MINN. STAT. § 325F., et seq.)
                         (Plaintiff Individually and on Behalf of the Class)

       176.    Plaintiff hereby adopts and incorporates by reference, all foregoing allegations as

though fully set forth herein.

       177.    Minn. Stat. § 325F.69, Subdivision 1 provides:

       The act, use, or employment by any person of any fraud, false pretense, false
       promise, misrepresentation, misleading statement or deceptive practice, with the
       intent that others rely thereon in connection with the sale of any merchandise,
       whether or not any person has in fact been misled, deceived, or damaged thereby, is
       enjoinable as provided in Section 325F.70.
       178.    Whirlpool sold merchandise in the form of Dishwashers to Plaintiff and Class

Members.

       179.    Whirlpool’s       business   practices,   in   designing,   manufacturing,   warranting,

advertising, marketing and selling its Dishwashers, of misrepresenting that: (1) their Dishwashers

would be free from defects; (2) its Dishwashers were “high-quality,” (3) purchasing or accepting

replacement Dishwashers and parts would remedy the problem; and (4) that reported problems with

Dishwashers were not caused by a Defect, even though Defendant knew and had substantial

evidence to the contrary, independently and collectively constitute the use of fraud, false promises,

misrepresentations, misleading statements and deceptive practices and, thus, constitute multiple,

separate violations of Minn. Stat. § 325F.69.




                                  FIRST AMENDED CLASS ACTION COMPLAINT

                                                         42
        CASE 0:20-cv-01906-WMW-KMM Doc. 25 Filed 11/25/20 Page 43 of 58



       180.     Whirlpool’s business practices, in manufacturing, warranting, advertising, marketing

and selling their Dishwashers while concealing, failing to disclose, suppressing or omitting material

information, including the Defect in the Dishwashers and Whirlpool’s knowledge of the Defect,

while continuing to misrepresent their Dishwashers as products that are free of defects, constitute

the use of fraud, false promises, misrepresentations, misleading statements and deceptive practices

and, thus, constitute multiple, separate violations of Minn. Stat. § 325F.69.

         181.    Whirlpool concealed the defective nature of their Dishwashers even after

 members of the Class began to report problems. Indeed, Whirlpool continued to affirmatively

 misrepresent and conceal from its dealers, distributors, and the public, the true nature of the

 Dishwashers. These omissions and misrepresentations constitute the use of fraud, false promises,

 misrepresentations, misleading statements and deceptive practices and, thus, constitute multiple,

 separate violations of Minn. Stat. § 325F.69.

         182.    As the manufacturer of the Dishwashers, Whirlpool knew or should have known

 the Dishwashers were defectively designed and/or manufactured, would fail prematurely, were

 not suitable for their intended use, and otherwise were not as warranted and represented by

 Whirlpool.

         183.    As the manufacturer of the Dishwashers, Whirlpool has special knowledge of the

 defective designed and/or manufactured Dishwashers at the time of manufacture and after

 receiving hundreds, if not thousands, of complaints regarding the Defect.            Accordingly,

 Whirlpool had special knowledge of the material facts to which Plaintiff and Class Members did

 not have, and could not have access to. Thus, Whirlpool had a duty to disclose to Plaintiff and




                                FIRST AMENDED CLASS ACTION COMPLAINT

                                                      43
      CASE 0:20-cv-01906-WMW-KMM Doc. 25 Filed 11/25/20 Page 44 of 58




Class Members the material facts that the Dishwashers contained the Defect at the time they

were sold, at the time Plaintiff and Class Members made warranty claims, and continuously

throughout the Class Period.

       184.    The fact that Whirlpool’s Dishwashers fails prematurely is a material fact, the

omission of which has the tendency or capacity or is likely to mislead or deceive Plaintiff and

Class Members, and is a fact which could not reasonably be known by Plaintiff and Class

Members. These omissions constitute the use of fraud, false promises, misrepresentations,

misleading statements and deceptive practices and, thus, constitute multiple, separate violations

of Minn. Stat. § 325F.69.

       185.    In connection with the manufacturing, warranting, advertising, marketing and sale

of Whirlpool’s Dishwashers, Whirlpool made the material omissions and misrepresentations set

forth in this Complaint in its warranty, manuals, advertising and other promotional materials

disseminated by or on behalf of Whirlpool in Minnesota.

       186.    Whirlpool’s omissions and misrepresentations set forth in this Complaint are

material in that they relate to information that would naturally affect the purchasing decisions or

conduct of purchasers, including Plaintiff and Class Members, regarding Whirlpool’s

Dishwashers.

       187.    Whirlpool had a duty to disclose to Plaintiff and members of the Classes the latent

Defect in the Dishwashers at the time of sale and during responses to complaints related to

reported problems with the Dishwashers, as the facts were material to Plaintiff’s and the Class

Members’ transactions; because it made contrary representations and statements, including that

the Dishwashers were defect free; because Whirlpool, as the party with knowledge of the Defect,



                               FIRST AMENDED CLASS ACTION COMPLAINT

                                                    44
      CASE 0:20-cv-01906-WMW-KMM Doc. 25 Filed 11/25/20 Page 45 of 58




knew that Plaintiff and members of the Class were entering transactions and acting on

Whirlpool’s statements during communications pertaining to reported problems with the

Dishwashers, under a mistake as to the fact of the defective design and/or manufacture of the

Dishwashers; because the fact of the defective nature of the design was peculiarly and

exclusively within Whirlpool’s knowledge and the mistaken parties, Plaintiff and Class

Members, could not reasonably be expected to discover it; and on account of the objective

circumstances, Plaintiff and the members of the Class reasonably expected disclosure of the fact

of the Defect.

       188.      The facts concealed and/or not disclosed by Whirlpool to Plaintiff and the Class

are material facts in that such facts would naturally affect the conduct of purchasers and a

reasonable person would have considered those facts to be important in deciding whether or not

to purchase Whirlpool’s Dishwashers and/or a home with the Dishwashers.

       189.      The facts concealed and/or not disclosed by Whirlpool to Plaintiff and the Class

are material facts in that such facts would naturally affect the conduct of purchasers and a

reasonable person would have considered those facts to be important in deciding whether or not

to take action in response to Whirlpool’s misrepresentations during communications related to

complaints, including whether to: (1) repair or replace the Dishwashers out-of-pocket; (2)

whether to accept or purchase replacement Dishwashers and parts; and (3) whether to pursue

action against Whirlpool where Whirlpool have affirmatively represented that the cause of the

problems related to issues other than the defect in the Dishwashers.

       190.      Had Plaintiff and the Class Members known of the defective nature of

Whirlpool’s Dishwashers, they would not have purchased the Dishwashers, or would have paid



                               FIRST AMENDED CLASS ACTION COMPLAINT

                                                    45
      CASE 0:20-cv-01906-WMW-KMM Doc. 25 Filed 11/25/20 Page 46 of 58




less for their Dishwashers.

       191.    Whirlpool possessed knowledge of the Dishwashers’ defective nature prior to

bringing the product to market, including upon information and belief, disregarding the Diverter

Shaft Seal’s manufacturer’s installation instructions. Whirlpool fraudulently, negligently,

recklessly and/or intentionally concealed and/or failed to disclose the true nature of the design

and/or manufacturing defect in their Dishwashers for the purpose of inducing Plaintiff, the Class

Members, and their agents, to rely thereon, and Plaintiff and the Class, and their agents,

justifiably relied to their detriment upon the truth and completeness of Whirlpool’s

representations about their Dishwashers. Plaintiff and the Class relied on Whirlpool’s disclosure

of all materials facts and not omission of any material information regarding Whirlpool’s

Dishwashers, both at the time of purchase of the Dishwashers, and when communicating with

Whirlpool to report damage due to the defective nature of the Dishwashers.

       192.    Whirlpool’s fraudulent and deceptive practices repeatedly occurred in

Whirlpool’s trade or business and were capable of deceiving a substantial portion of the

purchasing public.

       193.    As a direct and proximate cause of Whirlpool’s false and deceptive

misrepresentations and omissions regarding their Dishwashers, Plaintiff has suffered actual

injuries in that her Dishwasher has failed prematurely and caused water damage to her flooring.

Class Members have also suffered actual injury in that their Dishwashers have failed

prematurely, have caused damage to cabinetry and flooring, and/or Class Members are

reasonably certain to suffer actual injury well in advance of the represented and expected life of

the Dishwashers, as the failure process has begun to manifest in their Dishwashers.



                              FIRST AMENDED CLASS ACTION COMPLAINT

                                                   46
       CASE 0:20-cv-01906-WMW-KMM Doc. 25 Filed 11/25/20 Page 47 of 58




       194.    Separate from, and in addition to, their actual damages, Plaintiff and Class

Members’ expectations were frustrated as a result of Whirlpool’s omissions and

misrepresentations, and Plaintiff and Class Members did not receive what they expected to

receive, which injury constitutes a loss. Plaintiff and Class Members are thus entitled to recover

the difference between the actual value of the Dishwashers and the value the Dishwashers would

have possessed had Whirlpool’s representations about the quality, durability, and service life of

the Dishwashers been true.

       195.    Plaintiff’s lawsuit, like the similarly filed lawsuits filed in the Northern District of

Illinois and the Eastern District of Pennsylvania, will confer a public benefit by way of notice to

Class Members and other consumers nationwide regarding the true quality of the Dishwashers,

the likelihood that Dishwashers will fail prior to the average service life of a dishwasher, notice

of Defect, and an ability to recover of damages.

       196.    As a result of Whirlpool’s unlawful conduct, Plaintiff and Class Members were

injured and suffered damages. Plaintiff and Class Members are entitled to recover their actual

damages, and costs and disbursements, including costs of investigation and reasonable attorneys’

fees, as well as injunctive relief and other equitable relief, including restitution, as determined by

the Court, pursuant to Minnesota law, including Minn. Stat. §§ 8.31, subd. 1 and 3a. and

325F.69.

                                      SIXTH CAUSE OF ACTION
                                VIOLATIONS OF THE MINNESOTA
                          UNIFORM DECEPTIVE TRADE PRACTICES ACT
                           (Plaintiff Individually and on Behalf of the Class)

       197.    Plaintiff hereby adopts and incorporates by reference, all foregoing allegations as




                               FIRST AMENDED CLASS ACTION COMPLAINT

                                                     47
       CASE 0:20-cv-01906-WMW-KMM Doc. 25 Filed 11/25/20 Page 48 of 58




though fully set forth herein.

       198.     Minn. Stat. § 325D.44, Subdivision 1 provides, in part, as follows:

                Subdivision 1. A person engages in a deceptive trade practice when, in the
                course of business, vocation, or occupation, the person:
                        …
                (5)    represents that goods or services have sponsorship, approval,
                characteristics, ingredients, uses, benefits or quantities that they do
                not have…;
                        …
                (7)     represents that goods are of a particular standard, quality, or
                grade, or that goods are of a particular style or model, if they are of
                another . . .; or
                        …
                (13) engages in any other conduct which similarly creates
                likelihood of confusion or of misunderstanding.


       199.     Whirlpool’s business practices, in manufacturing, advertising, marketing and

selling its Dishwashers, in misrepresenting material facts, including that the Dishwashers are

defect free; that the Dishwashers are “high-quality;” that the Dishwashers will last for at least

one year; that the problems can be remedied by accepting or purchasing replacement

Dishwashers or parts; and that problems associated with the Dishwashers are not due to a defect,

constitute multiple, separate violations of Minn. Stat. § 325D.44, subd. 1 (5), (7) and (13),

including:

             a. Falsely representing that their Dishwashers has characteristics, uses, benefits or

                qualities of being defect free, when, in fact, they are not, and expected to last for

                the represented lifetimes of the products, when, in fact, it does not;




                                 FIRST AMENDED CLASS ACTION COMPLAINT

                                                      48
        CASE 0:20-cv-01906-WMW-KMM Doc. 25 Filed 11/25/20 Page 49 of 58




           b. Falsely representing that the Dishwashers are of a particular standard, quality

               or grade when, in fact, it is not; and

           c. Creating the likelihood of confusion or of misunderstanding among consumers

               about the nature and quality of their Dishwashers, including that it is defect

               free and will last the represented product lifetimes, when, in fact, it is not and

               does not.

        200.   Whirlpool’s business practices, in manufacturing, advertising, marketing and

selling their Dishwashers while misrepresenting material facts, including that the Dishwashers

are defect free, and failing to disclose, concealing, suppressing, and omitting material

information concerning the defect in their Dishwashers and the true, lower life expectancy of the

products, constitute multiple, separate violations of Minn. Stat. § 325D.44, subd. 1 (5), (7) and

(13).

        201.   As the manufacturer of the Dishwashers, Whirlpool has special knowledge of the

defective designed and/or manufactured Dishwashers at the time of manufacture and after

receiving hundreds, if not thousands, of complaints regarding the Defect.               Accordingly,

Whirlpool had special knowledge of the material facts to which Plaintiff and Class Members did

not have, and could not have access to. Thus, Whirlpool had a duty to disclose to Plaintiff and

Class Members the material facts that the Dishwashers contained the Defect at the time they

were sold, at the time Plaintiff and Class Members made warranty claims, and continuously

throughout the class period.

        202.   Whirlpool engaged in the above conduct in the course of Whirlpool’s business

and this conduct was capable of deceiving a substantial portion of the consuming public.



                               FIRST AMENDED CLASS ACTION COMPLAINT

                                                        49
      CASE 0:20-cv-01906-WMW-KMM Doc. 25 Filed 11/25/20 Page 50 of 58




       203.    Whirlpool intended that Plaintiff and the Class would rely on its

misrepresentations, concealment, warranties, deceptions and/or omissions regarding the fitness

of the dishwasher for its intended purpose and lack of defects.

       204.    The facts concealed or not disclosed by Whirlpool were material facts in that

Plaintiff, the Class and any reasonable consumer would have considered them in deciding

whether to purchase the Dishwashers.

       205.    Had Plaintiff, Class Members, and the consuming public known that the

Dishwashers were defective or would cause damage, they would not have purchased the

Dishwashers or would have paid less for them.

       206.    Accordingly, Plaintiff’s lawsuit, like the similarly filed lawsuits filed in the

Northern District of Illinois and the Eastern District of Pennsylvania, will confer a public benefit

by way of notice to Class Members and other consumers nationwide regarding the true quality of

the Dishwashers, the likelihood that Dishwashers will fail prior to the average service life of a

dishwasher, notice of Defect, and an ability to recover of damages.

       207.    As a result of Whirlpool’s unlawful conduct, Plaintiff and Class Members were

injured and suffered damages, and are entitled to recover their actual damages, costs and

disbursements, including costs of investigation and reasonable attorneys’ fees, as well as

injunctive relief and other equitable relief, including restitution, as determined by the Court,

pursuant to Minnesota law, including Minn. Stat. §§ 8.31, subd. 1 and 3a. and 325D.45.

                            SEVENTH CAUSE OF ACTION
        VIOLATIONS OF THE MINNESOTA UNLAWFUL TRADE PRACTICES ACT
                   (Plaintiff Individually and on Behalf of the Class)

       208.    Plaintiff hereby adopts and incorporates by reference, all foregoing allegations as



                              FIRST AMENDED CLASS ACTION COMPLAINT

                                                    50
       CASE 0:20-cv-01906-WMW-KMM Doc. 25 Filed 11/25/20 Page 51 of 58




though fully set forth herein.

          209.   Minn. Stat. § 325D.13 provides, in part, as follows:

          No person shall, in connection with the sale of merchandise, knowingly
          misrepresent, directly or indirectly, the true quality, ingredients or origin of such
          merchandise.

          210.   Whirlpool knowingly misrepresented and concealed the true quality of their

Dishwashers in connection with the sale of that merchandise.

          211.   Whirlpool knowingly misrepresented that their Dishwashers is defect free and the

life expectancy of its Dishwashers.

          212.   Whirlpool knowingly concealed from and failed to disclose to Plaintiff and Class

Members, in connection with the sale of their Dishwashers, material information, including the

defective nature of the products and the true, lower life expectancy of Whirlpool’s Dishwashers.

          213.   Whirlpool’s omissions and misrepresentations had the tendency or capacity to

deceive or mislead Plaintiff, Class Members, their agents, and a substantial segment of the

public.

          214.   Whirlpool’s omissions and misrepresentations were material because they related

to facts that would naturally affect the conduct of purchasers and that a reasonable person,

including Plaintiff and Class Members, and their agents, would have considered important in

deciding whether to purchase Whirlpool’s Dishwashers.

          215.   Whirlpool caused their Dishwashers to enter into interstate commerce.

          216.   Had Plaintiff, Class Members, and the consuming public known that the

Dishwashers were defective or would cause damage, they would not have purchased the

Dishwashers or would have paid less for them.



                                 FIRST AMENDED CLASS ACTION COMPLAINT

                                                       51
       CASE 0:20-cv-01906-WMW-KMM Doc. 25 Filed 11/25/20 Page 52 of 58




       217.    As a result of Whirlpool’s unlawful conduct, Plaintiff and Class Members were

injured and suffered damages, and are entitled to recover their actual damages, costs and

disbursements, including costs of investigation and reasonable attorneys’ fees, as well as

injunctive relief and other equitable relief, including restitution, as determined by the Court,

pursuant to Minnesota law, including Minn. Stat. §§ 8.31, subd. 1 and 3a. and 325D.15.

                                       EIGHTH CAUSE OF ACTION
                                               NEGLIGENCE
                             (Plaintiff Individually and on Behalf of the Class)

       218.    Plaintiff hereby adopts and incorporates by reference, all foregoing allegations as

though fully set forth herein.

       219.    Whirlpool has a duty to exercise reasonable care in the design, manufacturing,

processing, distributing, delivering, supplying, inspecting, marketing and/or selling the

Dishwashers that Whirlpool places into the stream of commerce, including a duty to assure that

the product will perform as intended and will not cause damage as described herein.

       220.    Whirlpool breached their duty by failing to exercise ordinary care in the

manufacturing, processing, distributing, delivering, supplying, inspecting, marketing and/or

selling the Dishwashers that Whirlpool placed into the stream of commerce in that Whirlpool

knew or should have known that the product was defective, did not function as intended, and/or

created a high risk of unreasonable, dangerous, foreseeable consequences.

       221.    The negligence of Whirlpool, their agents, servants, and/or employees, includes,

but is not limited to, the following acts and/or omissions:

           a. designing, manufacturing, processing, distributing, delivering, supplying,

               inspecting, marketing and/or selling Dishwashers without thoroughly testing it;



                                 FIRST AMENDED CLASS ACTION COMPLAINT

                                                    52
        CASE 0:20-cv-01906-WMW-KMM Doc. 25 Filed 11/25/20 Page 53 of 58




           b. negligently failing to adequately and correctly warn Plaintiff, Class Members, and

               the public, of the risks, potential damage, and dangers of premature failure of

               Whirlpool’s Dishwashers;

           c. negligently failing to recall or otherwise notify users at the earliest date that it

               became known that the Dishwashers was, in fact, defective and would

               prematurely fail;

           d. negligently advertising and recommending the use of the Dishwashers without

               sufficient knowledge as to its manufacturing defect and premature failure;

           e. negligently representing that Whirlpool’s Dishwashers were suitable for its

               intended purpose when, in fact, the Defect will render the Dishwasher unable to

               properly clean dishes and otherwise lead to water damage outside of the units

               themselves;

           f. negligently designing and processing the Dishwashers in a manner that would

               prematurely fail; and

           g. in other such ways that may be proven at trial.

        222.   Whirlpool were negligent in the design, manufacturing, processing, distributing,

delivering, supplying, inspecting, marketing and/or selling of Whirlpool’s Dishwashers in that

they:

           a. failed to use due care in designing and manufacturing the Dishwashers so as to

               avoid the premature failure when the Dishwashers was used for its intended

               purpose;

           b. designing and manufacturing the Dishwashers in a manner contradictory to the



                              FIRST AMENDED CLASS ACTION COMPLAINT

                                                   53
      CASE 0:20-cv-01906-WMW-KMM Doc. 25 Filed 11/25/20 Page 54 of 58




                 Diverter Shaft Seal’s manufacturing instructions;

             c. failing to conduct adequate testing to determine the useful life of the Dishwashers;

                 and

             d. failing to warn Plaintiff, prior to actively encouraging the purchase of the

                 Dishwashers either directly or indirectly, orally or in writing, about the defective

                 nature of the product; and

             e. in other such ways that may be proven at trial.

          223.   Upon information and belief, despite the fact that Whirlpool knew or should have

known that the Dishwashers was defective and would prematurely fail, Whirlpool continued to

design, manufacture, process, distribute, deliver, supply, market and/or sell Dishwashers to

Plaintiff, Class Members, and/or the consuming public.

          224.   Whirlpool knew or should have known that consumers such as Plaintiff and Class

Members would foreseeably suffer damage to the Dishwashers and Plaintiff and Class Members’

property as a result of Whirlpool’s acts and omissions, as well as failure to exercise ordinary

care, as well as Whirlpool’s negligent design and manufacture of the Dishwashers, as set forth

herein.

          225.   Whirlpool’s negligence was the proximate cause of Plaintiff’s and Class

Members’ damages to the product, water damage to cabinetry and flooring, as well as economic

loss, which they suffered and will continue to suffer.

          226.   By reason of the foregoing, Plaintiff and Class Members experienced and/or are at

risk of premature failure of the Dishwashers, and water damage to cabinetry and flooring.

          227.   Had Plaintiff, Class Members, and the consuming public known that the



                                FIRST AMENDED CLASS ACTION COMPLAINT

                                                     54
       CASE 0:20-cv-01906-WMW-KMM Doc. 25 Filed 11/25/20 Page 55 of 58




Dishwashers were defective or would cause damage, they would not have purchased the

Dishwashers or would have paid less for them.

       228.    As a direct and proximate result of Defendant’s misconduct, Plaintiff and Class

Members have been damaged in an amount to be proven at trial.

                                        NINTH CAUSE OF ACTION
                                    FRAUDULENT CONCEALMENT
                             (Plaintiff Individually and on Behalf of the Class)

       229.    Plaintiff hereby adopts and incorporates by reference, all foregoing allegations as

though fully set forth herein.

       230.    Whirlpool knew or should have known that the Dishwashers were defective in

design and manufacture, was not fit for its ordinary and intended use, and failed to perform in

accordance with advertisements, marketing materials and warranties disseminated by Whirlpool,

and with the reasonable expectations of ordinary consumers.

       231.    Whirlpool fraudulently concealed from and/or intentionally failed to disclose to

Plaintiff and the Class that the Dishwashers is defective, would prematurely fail, and that the

damages were not the result of mishandling or installation errors.

       232.    Whirlpool had exclusive knowledge of the defective nature of the Dishwashers at

the time of sale and at all other relevant times. The Defect is latent and not something that

Plaintiff or Class Members, in the exercise of reasonable diligence, could have discovered

independently prior to purchase.

       233.    Whirlpool had the capacity to, and did, deceive Plaintiff and Class Members into

believing that they were purchasing Dishwashers or homes with Dishwashers free from defects.

       234.    Whirlpool undertook active and ongoing steps to conceal the Defect. Plaintiff is



                                 FIRST AMENDED CLASS ACTION COMPLAINT

                                                   55
      CASE 0:20-cv-01906-WMW-KMM Doc. 25 Filed 11/25/20 Page 56 of 58




not aware of anything in Whirlpool’s advertising, publicity, or marketing materials that disclosed

the truth about the Defect, despite Whirlpool’s awareness of the problem.

       235.    The facts concealed and/or not disclosed by Whirlpool to Plaintiff and Class

members are material facts in that a reasonable person would have considered them important in

deciding whether to purchase (or to pay the same price for) the Dishwashers.

       236.    Whirlpool intentionally concealed and/or failed to disclose material factors for the

purpose of inducing Plaintiff and the Class to act thereon.

       237.    Plaintiff and the Class justifiably acted or relied upon the concealed and/or

nondisclosed facts to their detriment, as evidenced by their purchase of the Dishwashers.

       238.    Plaintiff and Class Members suffered a loss of money in an amount to be proven

at trial, inter alia, as a result of Whirlpool’s fraudulent concealment and nondisclosure because:

(a) they would not have purchased the Dishwashers on the same terms if the true facts

concerning the defective Dishwashers had been known; (b) they would not have paid a price

premium for the Dishwashers if they knew of the Defect and that the Dishwashers were likely to

fail prematurely, leak, and cause water damage to cabinetry and flooring; and (c) the

Dishwashers did not perform as promised.

       239.    Had Plaintiff, Class Members, and the consuming public known that the

Dishwashers were defective or would cause damage, they would not have purchased the

Dishwashers or would have paid less for them.

       240.    By reason of the foregoing, Plaintiff and Class Members suffered, and continue to

suffer damage and injury.




                              FIRST AMENDED CLASS ACTION COMPLAINT

                                                    56
       CASE 0:20-cv-01906-WMW-KMM Doc. 25 Filed 11/25/20 Page 57 of 58




                                    PRAYER FOR RELIEF

      WHEREFORE, Plaintiff, on behalf of herself and all others similarly situated, respectfully

requests that this Court:

   A. Certify the Class pursuant to Rule 23 of the Federal Rules of Civil Procedure;

   B. Award damages, including compensatory, exemplary, and statutory damages, to Plaintiff

       and the Classes in an amount to be determined at trial;

   C. Grant restitution to Plaintiff and the Classes and require Whirlpool to disgorge its ill-

       gotten gains;
   D. Permanently enjoin Whirlpool from engaging in the wrongful and unlawful conduct

       alleged herein;

   E. Award Plaintiff and the Class Members their expenses and costs of suit, including

       reasonable attorneys’ fees to the extent provided by law;

   F. Award Plaintiff and the Class Members pre-judgment and post-judgment interest at the

       highest legal rate to the extent provided by law; and

   G. Award such further relief as the Court deems appropriate.

                                        JURY DEMAND


       Plaintiff demands a trial by jury.


DATED: November 25, 2020                            Respectfully submitted,

                                                    /s/ Michelle J. Looby
                                                    Michelle J. Looby
                                                    Raina Borrelli
                                                    GUSTAFSON GLUEK PLLC
                                                    Canadian Pacific Plaza
                                                    120 South 6th Street, Suite 2600
                                                    Minneapolis, MN 55402
                                                    Telephone: (612) 333-8844


                              FIRST AMENDED CLASS ACTION COMPLAINT

                                                   57
CASE 0:20-cv-01906-WMW-KMM Doc. 25 Filed 11/25/20 Page 58 of 58




                                   mlooby@gustafsongluek.com
                                   rborrelli@gustafsongluek.com

                                   Harper T. Segui*
                                   Daniel K. Bryson**
                                   WHITFIELD BRYSON, LLP
                                   900 W. Morgan Street
                                   Raleigh, NC 27603
                                   T: 919-600-5000
                                   dan@whitfieldbryson.com
                                   harper@whitfieldbryson.com

                                   Gregory F. Coleman*
                                   Rachel Soffin*
                                   Lisa A. White*
                                   GREG COLEMAN LAW PC
                                   800 S. Gay Street, Suite 1100
                                   Knoxville, TN 37929
                                   T: 865-247-0080
                                   F: 865-522-0049
                                   greg@gregcolemanlaw.com
                                   rachel@gregcolemanlaw.com
                                   lisa@gregcolemanlaw.com

                                   Attorneys for Plaintiff and Putative Class

                                   * Admitted pro hac vice.
                                   **To be admitted pro hac vice.




                 FIRST AMENDED CLASS ACTION COMPLAINT

                                 58
